       Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 1 of 34




                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


Uniformed Fire Officers Association; Uniformed
Firefighters Association of Greater New York;
Correction Officers’ Benevolent Association of the
City of New York, Inc.; Police Benevolent                  Case No. 1:20-cv-05441-KPF
Association of the City of New York, Inc.;
Sergeants Benevolent Association; Lieutenants
Benevolent Association; Captains Endowment
Association; and Detectives’ Endowment
Association,

                                 Petitioners/Plaintiffs,

                     -against-

Bill de Blasio, in his official capacity as Mayor of
the City of New York; the City of New York; Fire
Department of the City of New York; Daniel A.
Nigro, in his official capacity as the Commissioner
of the Fire Department of the City of New York;
New York City Department of Correction; Cynthia
Brann, in her official capacity as the
Commissioner of the New York City Department
of Correction; Dermot F. Shea, in his official
capacity as the Commissioner of the New York
City Police Department; the New York City Police
Department; Frederick Davie, in his official
capacity as the Chair of the Civilian Complaint
Review Board; and the Civilian Complaint Review
Board,

                          Respondents/Defendants.



BRIEF OF AMICI CURIAE NAACP LEGAL DEFENSE AND EDUCATIONAL FUND,
      INC., LAWYERS’ COMMITTEE FOR CIVIL RIGHTS UNDER LAW,
 LATINOJUSTICE PRLDEF, AND LAW FOR BLACK LIVES IN OPPOSITION TO
         PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION
            Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 2 of 34




                                                   TABLE OF CONTENTS

                                                                                                                                       Page

INTRODUCTION ......................................................................................................................... 1
ARGUMENT ................................................................................................................................. 3
          I.         PUBLIC DISCLOSURE OF POLICE MISCONDUCT AND
                     DISCIPLINE RECORDS IS ESSENTIAL FOR TRANSPARENCY AND
                     POLICE ACCOUNTABILITY. ............................................................................ 3
                     A.         Police Officers Must Be Held Accountable To The Public—
                                Especially To Communities Of Color, Who Are Most Directly
                                Impacted By Police Misconduct And Violence. ........................................ 3
                     B.         Public Disclosure Of Police Misconduct And Discipline Records Is
                                Critical To Police Accountability And, In Turn, Public Safety. .............. 10
          II.        IN RESPONSE TO A NATIONAL CONVERSATION ABOUT POLICE
                     MISCONDUCT, THE NEW YORK STATE LEGISLATURE
                     REPEALED SECTION 50-A TO REVERSE THE EXTREME
                     SECRECY OF POLICE MISCONDUCT INFORMATION. ............................. 15
                     A.         Prior To The Repeal Of Section 50-a, New York Was A National
                                Outlier In Non-Disclosure Of Police Misconduct And Discipline
                                Records. ................................................................................................... 15
                     B.         The New York State Legislature Repealed Section 50-a To
                                Promote Police Transparency And Accountability.................................. 18
          III.       THIS COURT SHOULD NOT ALLOW THE POLICE UNIONS’
                     NARROW AND PRETEXTUAL INTERESTS TO OVERRIDE THE
                     PUBLIC’S INTEREST IN TRANSPARENCY, ACCOUNTABILITY,
                     AND RACIAL JUSTICE. ................................................................................... 21
CONCLUSION ............................................................................................................................ 24




                                                                      i
            Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 3 of 34




                                                TABLE OF AUTHORITIES

                                                                                                                                     Page
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                                                                     ii
            Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 4 of 34




                                               TABLE OF AUTHORITIES
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                                                                                                                                   Page

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                                                                    iii
            Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 5 of 34




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                                                                     vi
            Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 8 of 34




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                                                                     vii
            Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 9 of 34




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                                                                       viii
       Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 10 of 34




                                        INTRODUCTION

       Amici curiae—NAACP Legal Defense and Educational Fund, Inc., Lawyers’ Committee

for Civil Rights Under Law, LatinoJustice PRLDEF, and Law for Black Lives—are national

legal advocacy organizations committed to eradicating the pernicious influence of racial

discrimination in the criminal justice system. They are deeply familiar with the impact of police

abuse and violence on communities of color through their work and from the communities they

serve. In this brief, amici address a limited, but important, issue presented by the pending

motion for a preliminary injunction: the public’s interest in transparency, accountability, and

racial justice in law enforcement.

       In the wake of the killings of George Floyd and Breonna Taylor, tens of millions took to

the streets to rise up against police abuse and violence, particularly against communities of color.

One of the central demands of this movement was dramatic change to America’s flawed systems

of police accountability. Law enforcement agencies must be subject to robust and reliable

internal investigations to hold officers accountable for misconduct, especially misconduct that

violates the rights of those most vulnerable to police abuse. But these oversight mechanisms are

often deeply flawed. Officers regularly discourage members of the public from reporting abuse,

and even when individuals report serious abuses, they are frequently ignored altogether. When

police departments do conduct investigations, they are often cursory and routinely absolve

officers who committed flagrant misconduct. And in the event officers are found to have done

something wrong, they often receive trivial punishments out of step with the severity of their

abuses. As a result, police officers’ abuses of power remain unchecked, leaving the distinct

impression that officers can violate the law with impunity. Communities of color,

disproportionately targeted for abusive policing, bear the brunt of these failures of accountability.




                                                 1
        Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 11 of 34




       New York’s repeal of Civil Rights Law Section 50-a—which, as interpreted by the

NYPD and courts, was among the most secretive laws of its kind in the country—directly

responded to public demands for police accountability, transparency, and racial justice. The

repeal reflected a commonsense understanding that sunlight is the best disinfectant: public

disclosure of police misconduct allows citizens and legislators to access necessary information

about flaws in existing systems of police accountability, gives victims of police abuse some

assurance of accountability for the harms they suffered, deters future misconduct, and makes

clear to the public that misconduct within the police department should not be tolerated. While

the police union plaintiffs in this case (hereafter, the “Police Unions”) urged the retention of

Section 50-a, the New York legislature, representing the will of New York residents, decided

otherwise. New York has thus affirmed that the public interest is best served by transparency,

not secrecy.

       Having failed before the legislature, the Police Unions now ask this Court to eviscerate

New York’s reform and enjoin the disclosure of misconduct records related to so-called

“unsubstantiated” cases—in which investigators believe there is not enough evidence to meet the

standards of the Civilian Complaint Review Board (“CCRB”) or the NYPD’s Internal Affairs

Bureau (“IAB”) as to whether misconduct has occurred—or “non-final” cases. According to the

Police Unions, these records cannot be released because they do not conclusively prove that

officers engaged in misconduct. See Mot. for Prelim. Inj., 20-cv-05441-KPF, Dkt. No. 10-12, at

1. But part of the motivating force behind the repeal of Section 50-a was a distrust of these

investigations and their conclusions. The bare fact that the CCRB or NYPD has deemed an

allegation “unsubstantiated” tells the public little to nothing about the credibility of the charges,

the evidence in support of those charges, or the diligence of the investigations. And without




                                                  2
         Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 12 of 34




access to claims deemed “unsubstantiated,” the public has no way of knowing whether serious

charges of misconduct are going unpunished—a necessary first step toward changing how police

officers and departments operate in communities of color. In other words, the Police Unions ask

nothing less than blind trust in the very systems the public sought to reform by repealing

Section 50-a.

        It is unfortunate, but predictable, that the Police Unions—who have for decades fought

efforts to curb systemic discrimination within the NYPD and to promote greater equity in police

practices—have launched this last-ditch effort to avoid accountability. But to be entitled to a

preliminary injunction, the Police Unions must demonstrate that the injunction they seek is “in

the public interest.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). They cannot.

                                                 ARGUMENT

I.      PUBLIC DISCLOSURE OF POLICE MISCONDUCT AND DISCIPLINE
        RECORDS IS ESSENTIAL FOR TRANSPARENCY AND POLICE
        ACCOUNTABILITY.

        A.       Police Officers Must Be Held Accountable To The Public—Especially To
                 Communities Of Color, Who Are Most Directly Impacted By Police
                 Misconduct And Violence.

        Police violence is a tragic and unacceptable feature of American life, and communities of

color suffer disproportionately from that violence. For young men, police violence is a leading

cause of death—and the violence is not color-blind.1 About 1 in every 1,000 Black men can

expect to be killed by police—a rate 2.5 times higher than for white men.2 Black people killed

by police are more than twice as likely to be unarmed as white people.3 And, even when the


1
  See Frank Edwards, Hedwig Lee & Michael Esposito, Risk of being killed by police use of force in the United
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                                                         3
         Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 13 of 34




results are not fatal, police use force in their interactions with Black people 3.6 times more often

than with white people.4

         Police also enforce laws disproportionately against communities of color. In San

Francisco, Black people represented 26% of all police stops in the second half of 2018 even

though they represented just 5% of the city’s population.5 In California generally, police are

more likely to search Black, Latinx, and Native American people, and they are less likely to find

drugs or weapons compared to when they search white people.6 In Washington, D.C., while

there is little difference in rates of drug use, there are significant disparities between white and

Black people in drug arrests: almost 9 out of 10 arrests for drug possession are of Black people.7

These are not isolated examples. Across the country, communities of color are intentionally

targeted and disproportionately charged with violations of law.8

         Disparities in police violence and misconduct are similarly present in New York. For

decades, the NYPD engaged in widespread racial profiling against Black and Latinx residents.

Indeed, in Floyd v. City of New York, this Court expressly found that “the NYPD implements its

policies regarding stop and frisk in a manner that intentionally discriminates based on race” and

that “the use of race is sufficiently integral to the policy of targeting ‘the right people’ that the

policy depends on express racial classifications.” Floyd v. City of New York, 959 F. Supp. 2d



4
  Center for Policing Equity, The Science of Justice: Race, Arrests, and Police Use of Force 15 (July 2016),
available at https://policingequity.org/images/pdfs-doc/CPE_SoJ_Race-Arrests-UoF_2016-07-08-1130.pdf.
5
  Darwin Bond Graham, Black people in California are stopped far more often by police, major study proves, The
Guardian, Jan. 3, 2020, available at https://www.theguardian.com/us-news/2020/jan/02/california-police-black-
stops-force.
6
  Id.
7
  Washington Lawyers’ Committee for Civil Rights and Urban Affairs, Racial Disparities in Arrests in the District
of Columbia, 2009-2011, 2-3 (July 2013), available at
https://www.washlaw.org/pdf/wlc_report_racial_disparities.pdf.
8
  See, e.g., U.S. Dep’t of Justice, Investigation of the Ferguson Police Department 62 (Mar. 4, 2015), available at
https://www.justice.gov/sites/default/files/opa/press-
releases/attachments/2015/03/04/ferguson_police_department_report_1.pdf; Jamie Fellner, Race, Drugs, and Law
Enforcement in the United States, 20 Stan. L. & Pol’y Rev. 257 (2009).


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         Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 14 of 34




640, 663 (S.D.N.Y. 2013). This Court subsequently appointed a monitor, which is still in effect,

to oversee the NYPD’s compliance with the United States Constitution. Floyd v. City of New

York, 959 F. Supp. 2d 668 (S.D.N.Y. 2013). This monitoring encompasses two additional

federal class actions that identified widespread, unconstitutional conduct by the NYPD: Davis v.

New York, 10-cv-0699-AT (S.D.N.Y.), which challenged the NYPD’s racially discriminatory

and unconstitutional trespass-enforcement practices in public housing; and Ligon v. City of New

York, 12-cv-2274-AT (S.D.N.Y.), which concerned the NYPD’s discriminatory stops and arrests

in private buildings it patrolled.9

        Police misconduct and violence endure, in substantial part, because officers who violate

the public trust often face little to no accountability for their actions. Criminal prosecution of

police officers is exceedingly rare. On average, police fatally shoot about 1,000 people every

year.10 Of the roughly 15,000 fatal police shootings since 2005, just 110, or 0.73%, ended with

the responsible law enforcement officers being charged with murder or manslaughter.11 Only 42,

or 0.28%, ended in convictions.12 With respect to civil liability, the doctrine of qualified

immunity in practice “operates like absolute immunity” and “protect[s] law enforcement officers

from having to face any consequences for wrongdoing,” as Judge Carlton Reeves forcefully

explained in a recent and widely-publicized opinion. Jamison v. McClendon, 2020 WL

4497723, at *2 (S.D. Miss. Aug. 4, 2020). And when civil liability is imposed, local

governments generally indemnify individual officers against awards for money damages. As a



9
  Amicus NAACP Legal Defense and Educational Fund, Inc. serves as co-counsel in Davis; amicus LatinoJustice
PRLDEF served as co-counsel in Ligon.
10
   Amelia Thomson-DeVeaux, Nathaniel Rakich & Likhitha Butchireddygari, Why It’s So Rare For Police Officers
To Face Legal Consequences, FiveThirtyEight (June 4, 2020), available at https://fivethirtyeight.com/features/why-
its-still-so-rare-for-police-officers-to-face-legal-consequences-for-misconduct/.
11
   Id.
12
   Id.



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         Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 15 of 34




result, 99.8% of the dollars recovered by plaintiffs in lawsuits alleging civil rights violations by

law enforcement are paid by the public, and not the officers who actually violated the law.13 In

New York City, NYPD claims accounted for $220.1 million, or 36% of the total overall cost of

resolved fiscal year 2019 tort claims.14

         The limitations of these external legal mechanisms as a vehicle for police accountability

highlight the importance of internal investigations. But time and again, when the DOJ and other

third parties examine law enforcement’s internal disciplinary processes, they are found to be

riddled with abuses of power, bias in favor of officers, inaccurate and incomplete records and

investigations, and obstructionist policies designed to thwart accountabilty.

         In Chicago, for example, a 2017 DOJ report found that the Chicago Police Department’s

internal disciplinary system was “broken” and “seldom h[eld] officers accountable for

misconduct.”15 Over a five-year period, the Chicago Police Department investigated 409 police

shootings and concluded that just two, or 0.49%, of the shootings were unjustified.16 Not

surprisingly, that low rate of “substantiated” complaints did not correlate with the actual

credibility of the allegations: “the City paid over half a billion dollars to settle or pay judgments

in police misconduct cases” between 2004 and 2017—“without even conducting a disciplinary

investigation in over half of those cases, and it recommended discipline in fewer than 4% of

those cases it did examine.”17 The DOJ uncovered a series of barriers to initiating police

misconduct investigations, including “a formal policy against investigating many complaints



13
   Joanna C. Schwartz, Police Indemnification, 89 N.Y.U. L. Rev. 885-1004 (2014).
14
   NYC Comptroller, Fiscal Year 2019 Annual Claims Report 18-20 (2020), available at
https://comptroller.nyc.gov/wp-content/uploads/documents/Claims-Report-FY-2019.pdf.
15
   U.S. Dep’t of Justice, Investigation of the Chicago Police Department 46 (Jan. 13, 2017), available at
https://www.justice.gov/opa/file/925846/download.
16
   Id.
17
   Id. (emphasis added).



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        Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 16 of 34




about force; referral of verbal abuse complaints to a process in which no discipline can be

imposed even if misconduct occurred; [and] a failure to investigate anonymous complaints or

complaints without a sworn affidavit[.]”18 The DOJ’s review of complaints that “were

investigated revealed consistent patterns of egregious investigative deficiencies that impede the

search for the truth.”19

        A DOJ investigation of the Suffolk County Police Department (“SCPD”) in New York—

which uncovered racial biases against Latinx people, including discriminatory traffic stops and

failures to timely complete investigations of hate crimes—also found serious flaws in the

SCPD’s investigation of police misconduct complaints.20 In a 2011 letter, the DOJ identified a

number of issues with SCPD’s handling of police misconduct complaints, including failures to

(1) consistently investigate allegations of police misconduct, (2) maintain engagement with the

complainant until resolution of the complaint, (3) properly track complaints, and (4) train

supervisors on how to review and address the findings of internal misconduct investigations.21

Almost 10 years later, and after 6 1/2 years of DOJ monitoring, the SCPD has yet to achieve full

compliance with the DOJ’s recommendations.22

        Again, the NYPD is no exception. In Floyd, this Court recognized that reforming the

NYPD’s system of “monitoring, supervision, and discipline” of officers was “[a]n essential

aspect” of remedying the Department’s unconstitutional practice of stop-and-frisk. Opinion and

Order, 08-cv-1034, Dkt. No. 372, at 23 (Aug. 12, 2013). In ordering the NYPD to “implement

measures to adequately discipline officers,” the Court relied on expert testimony demonstrating


18
   Id. at 50.
19
   Id. at 47 (emphasis in original).
20
   U.S. Dep’t of Justice, Suffolk County Police Department Technical Assistance Letter at 11 (Sept. 13 2011),
available at https://www.justice.gov/sites/default/files/crt/legacy/2011/09/14/suffolkPD_TA_9-13-11.pdf.
21
   Id.
22
   See U.S. Dep’t of Justice, Eighth Report Assessing Settlement Agreement Compliance by Suffolk County Police
Department (Dec. 18, 2019), available at https://www.justice.gov/crt/page/file/1257946/download.


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        Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 17 of 34




that without “improved citizen complaint procedures” and “improved disciplinary procedures,”

“the entire accountability system begins to collapse.” Id. Yet, according to the most recent

report by this Court’s independent monitor, the NYPD’s Internal Affairs Bureau investigated

2,947 civilian complaints related to race-and-bias-based policing from 2014-2019—and did not

substantiate a single one.23 At the same time, the Monitor identified a number of problems with

the NYPD’s handling of the investigations, such as “[n]ot interviewing the complainant, or

witness, or subject and witness officers”; asking questions that “suggested the investigator had

already reached a conclusion” and/or “doubted the validity of the complaint or the credibility of

the complainant”; and “[n]ot following up on leads.”24 The Office of the Inspector General for

the NYPD likewise found serious deficiencies in the NYPD’s investigation of complaints of

biased policing.25 And, according to the Inspector General, “[a]lthough low substantiation rates

for biased policing complaints exist in other large U.S. cities, NYPD’s zero substantiation rate

stands out.”26 Either every single complainant was mistaken about the facts underlying every

single incident, or the NYPD—which has twice been found to conduct inadequate

investigations—is failing to meaningfully investigate these critical complaints of constitutional

consequence.

        When disciplinary systems do not hold officers accountable, police officers who have

previously endangered public safety continue to abuse their authority. Officers with a history of

shooting civilians are 51% more likely to do so again.27 A study of shootings by the NYPD


23
   Tenth Report of Independent Monitor, Davis v. City of New York, 10-cv-0699-AT, Dkt. No. 496, at 73.
24
   Id. at 75.
25
   N.Y.C. Dep’t of Investigation, Complaints of Biased Policing in New York City: An Assessment of NYPD’s
Investigations, Policies, and Training 22-34 (June 2019), available at
https://www1.nyc.gov/assets/doi/reports/pdf/2019/Jun/19BiasRpt_62619.pdf.
26
   Id. at 20.
27
   James P. McElvain & Augustine J. Kposowa, Police Officer Characteristics and the Likelihood of Using Deadly
Force, 35 Crim. Just. & Behavior 505, 515 (Apr. 2008).



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        Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 18 of 34




similarly showed that the “accumulation [of] negative marks” in an officer’s personnel file was

“a leading indicator for shooting risk,” and that “officers rapidly accumulating negative marks in

their file are at a more than three times greater risk of shooting.”28 When lengthy records of

misconduct are ignored by a disciplinary system, the results are both tragic and predictable.

Before Atlanta officer Garret Rolfe fatally shot Rayshard Brooks in the back while Mr. Brooks

was running away, 12 complaints had been filed against him, 9 of which were dismissed.29

Among the complaints that failed to result in any discipline was another shooting of an unarmed

Black civilian in 2015—in which the officers involved in the shooting filed a police report that

did not even mention they had shot a man in the chest.30

        The failure to discipline officers who abuse their authority not only leaves those

particular officers free to repeat and escalate their misconduct—it helps create a culture of

impunity in which other officers are more likely to engage in violence and other unlawful

behavior. A study in Chicago, for example, found that “police violence is contagious”: officers’

exposure to colleagues who previously shot civilians increases the risk that the officers would

themselves shoot civilians.31 “[W]ithin two years, exposure to a single shooting more than

doubles a [peer officer’s] probability of a future shooting.”32 Another study found that a 10%

increase in peers’ prior misconduct increases an officer’s later misconduct by 8%.33 These




28
   Greg Ridgeway, Officer Risk Factors Associated with Police Shootings: A Matched Case-Control Study, 3 Stat. &
Pub. Pol’y 1, 5 (2016), available at
https://www.tandfonline.com/doi/full/10.1080/2330443X.2015.1129918?scroll=top&needAccess=true.
29
   Curtis Gilbert, Atlanta cop who killed Rayshard Brooks had prior controversial shooting, American Public Media
(June 17, 2020), available at https://www.apmreports.org/story/2020/06/17/officer-garrett-rolfe-atlanta-shooting.
30
   Id.
31
   Thibaut Horel et al., The Contagiousness of Police Violence at 1 (Nov. 2018), available at
https://www.law.uchicago.edu/files/2018-11/chicago_contagiousness_of_violence.pdf.
32
   Id.
33
   Edika G. Quispe-Torreblanca & Neil Stewart, Causal peer effects in police misconduct, 3 Nature Human
Behaviour 797, 797 (Aug. 2019).



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         Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 19 of 34




empirical findings are buttressed by in-depth examinations of police department abuses by the

DOJ. The DOJ’s investigation of the Chicago Police Department, for example, concluded that

the department’s “failure to ensure the accurate reporting, review, and investigation of officers’

use of force has helped to create a culture in which officers expect to use force and never be

carefully scrutinized about the propriety of that use.”34

        B.       Public Disclosure Of Police Misconduct And Discipline Records Is Critical
                 To Police Accountability And, In Turn, Public Safety.

        There is a “paramount public interest in a free flow of information to the people

concerning public officials, their servants.” Garrison v. Louisiana, 379 U.S. 64, 76 (1964). This

“paramount public interest” manifestly extends to information about whether police officers

conduct themselves properly while acting under color of law and while being paid with taxpayer

money. Id. After all, police officers are not simply public officials. They have enormous

power—the authority to stop, detain, arrest, and in some cases, use deadly force against members

of the public—that is inherently “subject to potential abuse.” United States v. Robinson, 414

U.S. 218, 248 (1973) (Marshall, J. dissenting). When officers overstep their authority or misuse

their power, they risk violating the most fundamental rights of members of the public.

        Although the public has every right to know how officers behave while acting on the

public’s behalf, this country’s systems of police accountability too often operate in the dark. In

many states, police misconduct records are not publicly available.35 See infra at 15-17. As a



34
  Investigation of the Chicago Police Department, supra n. 15, at 41.
35
  Approximately 21 states treat misconduct records as completely confidential. Robert Lewis et al., Is Police
Misconduct a Secret in Your State?, WNYC, available at https://www.wnyc.org/story/police-misconduct-records/
(Oct. 15, 2015) (cataloguing the 50 state approaches to disclosure of police misconduct records). These are: Alaska,
Colorado, Delaware, District of Columbia, Idaho, Iowa, Kansas, Maryland, Mississippi, Missouri, Montana,
Nebraska, Nevada, New Hampshire, New Jersey, North Carolina, Oregon, Pennsylvania, Rhode Island, South
Dakota, Virginia, and Wyoming. Prior to the repeal of Section 50-a, this list included New York. And before the
passage of SB1421 (“The Right to Know Act”) in 2018, this list included California. See Katherine J. Bies, Let the



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         Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 20 of 34




result, citizens and legislators are deprived of the information they need to evaluate whether

police departments are effectively holding officers accountable when they violate departmental

policy or the law. The public cannot know whether a law enforcement agency fails to properly

investigate serious charges of police misconduct, or whether it imposes proportional discipline

when abuses of authority are found.36 Without insight into how systems of police accountability

function, or fail to function, the public can only guess at the right solutions and interventions to

end police violence and misconduct. And when well-performing systems are shrouded in

secrecy, citizens and legislators in other jurisdictions lose the opportunity to learn from, and

replicate, successful models of accountability.

        The important goals served by transparency are severely undermined when the public is

deprived of access to “unsubstantiated” complaints of misconduct. When an allegation is

deemed “unsubstantiated,” it simply means that the investigating entity has concluded that there

is not enough evidence to prove that misconduct did or did not occur. Carefully examining

patterns of unsubstantiated complaints, whether for a particular officer or across squads, units, or

commands, can reveal potential systemic problems in the investigations of complaints and in

officer conduct or supervision.

        And because police accountability systems are deeply flawed, see supra at 6-10, the bare

fact that an allegation of misconduct has been deemed “unsubstantiated” tells the public little to

nothing about the credibility of the underlying charges or the thoroughness of the investigation.

To begin with, there may be burdensome evidentiary requirements on complainants, like rules




Sunshine In: Illuminating the Powerful Role Police Unions Play in Shielding Officer Misconduct, 28 Stan. L. &
Pol’y Rev. 109, 128 (2017).
36
   Kendall Taggart, Mike Hayes, The NYPD’s Secret Files, Buzzfeed News (Apr. 16, 2018), available at
https://www.buzzfeednews.com/article/kendalltaggart/nypd-police-misconduct-database-explainer.



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         Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 21 of 34




that require complaints to be made in writing, which allow departments to disregard or dismiss

allegations of serious misconduct on technical grounds.37 When civilian complainants do

manage to meet a department’s procedural requirements, police officials may cast aside

complaints and deem them meritless without so much as a cursory investigation. In Baltimore,

for example, police officials systematically misclassified complaints—including charges that

officers committed criminal assault, theft, domestic violence, and sexual assault—as “supervisor

complaints,” a designation that allowed the complaint to be closed without any investigation at

all.38

         When police officials do investigate a complaint, their investigations may be slipshod and

heavily biased in favor of clearing officers of wrongdoing. The DOJ’s review of the Chicago

Police Department uncovered, among other things, a widespread failure to interview witnesses or

accused officers at all, biased questioning in favor of officers, and “witness coaching by [police]

union attorneys.”39 A DOJ investigation in Cleveland determined that the officers conducting

use-of-force investigations made “little effort to determine the level of force that was used and

whether it was justified,” and that investigations were “cursory” and “appear to be designed from

the outset to justify the officers’ actions.”40 Similar investigative deficiencies, and others, have

plagued the NYPD, as documented by the NYPD Inspector General and the court-appointed

Monitor. See supra at 7-8.

         As a result, shielding so-called “unsubstantiated” complaints deprives the public of any

ability to know why civilian complaints result in no finding of misconduct and no discipline.


37
   United States Dep’t of Justice, Investigation of the Baltimore City Police Department 140 (Aug. 10, 2016),
available at https://www.justice.gov/opa/file/883366/download.
38
   Id. at 141–42.
39
   Investigation of the Chicago Police Department, supra n. 15, at 47.
40
   U.S. Dep’t of Justice, Investigation of the Cleveland Division of Police 31 (Dec. 4, 2014), available at
https://www.justice.gov/sites/default/files/opa/press-
releases/attachments/2014/12/04/cleveland_division_of_police_findings_letter.pdf.


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        Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 22 of 34




Such findings may simply reflect a failure to follow basic investigative procedures such as

interviewing witnesses, crediting uncontested witness testimony, and gathering and reviewing

available evidence. Indeed, the more flawed the system of accountability, the more likely it is to

fail to thoroughly investigate and gather sufficient evidence to substantiate complaints.

Shielding “unsubstantiated” complaints from public scrutiny, therefore, has the perverse effect of

allowing the most abysmal systems to operate under the highest levels of secrecy.

        The value of information about unsubstantiated complaints is clear from police

departments’ own “early-intervention systems”—a potential tool in curbing police misconduct.

In 1981, the U.S. Commission on Civil Rights recommended that all police departments employ

these “data-based tool[s] . . . to identify officers whose behavior is problematic and provide a

form of intervention to correct that performance.”41 A key input in these systems is civilian

complaints; frequently, officers who are the subject of a specified number of complaints within a

given timeframe are designated as candidates for intervention to prevent serious misconduct in

the future.42 Even though these systems typically rely on the mere fact that complaints have

been filed, research indicates that they can have a “dramatic effect on reducing citizen

complaints and other indicators of problematic police performance”43—at least when early-

intervention systems are not “inadequate and poorly utilized.”44 The NYPD itself has long

considered both substantiated and unsubstantiated complaints when determining whether officers




41
   Samuel Walker, Geoffrey P. Alpert & Dennis J. Kenney, Early Warning Systems: Responding to the Problem
Police Officer, National Institute of Justice: Research in Brief, at 1 (July 2001), available at
https://www.ncjrs.gov/pdffiles1/nij/188565.pdf.
42
   Id. at 2.
43
   Id. at 3.
44
   See, e.g., Investigation of the Cleveland Division of Police, supra n. 40, at 31.



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         Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 23 of 34




need to enter performance monitoring.45 It is, therefore, disingenuous of the Police Unions to

contend that civilian complaints lack value unless they are “substantiated.”

        Preventing the disclosure of records related to findings that are “non-final” would

likewise impede the public’s understanding of how law enforcement operates and block long-

overdue change. Experience from across the country shows that internal disciplinary

investigations can drag on for years—often under circumstances which suggest that delay is

designed to thwart accountability altogether. In Syracuse, for example, at least 47 officers in the

last three years have evaded discipline because the police department failed to complete

misconduct investigations within the 18-month period required by law.46 Likewise, after

Chicago police officer Bruce Asken cracked open Greg Larkins’ head with a baton, more than

five years passed before the Independent Police Review Authority filed charges of excessive

force against the officer—just long enough for Illinois’ five-year statute of limitations on

disciplinary action to expire.47 In New York City, the officers involved in the killing of Eric

Garner in 2014 did not face internal departmental charges until four years later, in 2018,48 and

former officer Daniel Pantaleo, who conducted the chokehold killing Eric Garner, was not fired

from the NYPD until 2019.49 It was not disclosed until Mr. Pantaleo’s administrative trial that

the NYPD’s Internal Affairs Bureau had determined that Mr. Pantaleo violated department



45
   See Floyd v. City of New York, Resp. to Pls.’ Submissions on Department’s Response to Court Order Regarding
Facilitator’s Recommendation No. 1, 1:08-cv-01034-AT, DKT No. 729-1, at 9.
46
   Patrick Lohmann & Chris Libonati, Syracuse police took so long on misconduct investigations that some officers
can’t be disciplined, Syracuse.com (July 13, 2020), available at https://www.syracuse.com/news/2020/07/syracuse-
police-took-so-long-on-misconduct-investigations-that-some-officers-cant-be-disciplined.html.
47
   Annie Sweeney & Jeremy Gorner, Police misconduct cases drag on for years, Chi. Tribune, June 17, 2012,
available at https://www.chicagotribune.com/news/ct-met-cop-investigations-delayed-20120617-story.html.
48
   Daniel Arkin, NYPD officers in Eric Garner case face disciplinary action, NBC News, July 19, 2018, available at
https://www.nbcnews.com/news/us-news/nypd-officer-eric-garner-case-will-finally-face-disciplinary-action-
n892761.
49
   Ashley Southall, Daniel Pantaleo, Office Who Held Eric Garner in Chokehold, Is Fired, N.Y. Times, Aug. 19,
2019, available at https://www.nytimes.com/2019/08/19/nyregion/daniel-pantaleo-fired.html.



                                                       14
         Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 24 of 34




policy by using a forbidden chokehold on Mr. Garner, but nevertheless failed to take action

against him for years.50

         Allowing police departments to withhold records so long as an investigation is unfinished

would create additional, pernicious incentives to postpone resolution of investigations. Indeed, if

a lapsed investigation is deemed “non-final,” records might be forever insulated from public

scrutiny. At the very least, that approach would deprive the public of access to information for

substantial periods of time—including during the immediate aftermath of an incident of

misconduct, when the public’s interest in pertinent information is often most pronounced—while

a potentially dangerous officer continues to walk the streets.

II.      IN RESPONSE TO A NATIONAL CONVERSATION ABOUT POLICE
         MISCONDUCT, THE NEW YORK STATE LEGISLATURE REPEALED
         SECTION 50-A TO REVERSE THE EXTREME SECRECY OF POLICE
         MISCONDUCT INFORMATION.

         A.       Prior To The Repeal Of Section 50-a, New York Was A National Outlier In
                  Non-Disclosure Of Police Misconduct And Discipline Records.

         Until 2020, New York was one of only two states with a statute that specifically

exempted law enforcement officers’ personnel records from public disclosure.51 As the New

York State Committee on Open Government observed, Section 50-a made “New York . . .

virtually unique among the states in its refusal to apply the same transparency to police and other




50
   Ashley Southall, Police Investigators Determined Officer Choked Eric Garner, N.Y. Times, May 13, 2019,
available at https://www.nytimes.com/2019/05/13/nyregion/eric-garner-death-daniel-pantaleo-trial-chokehold.html.
51
   Robert Lewis et al., supra n. 35. “Delaware is the only other state in the country that also has a law comparable to
CRL 50-a that restricts the scope of law enforcement information available to the public.” New York City Bar,
Report on Legislation by the Civil Rights Committee at 2, available at
https://s3.amazonaws.com/documents.nycbar.org/files/2017285-50aPoliceRecordsTransparency.pdf;
see Del. Code Ann. tit. 11, ch. 92, § 9200(d) (2018). Prior to the passage of SB1421 (The Right to Know Act) in
2018, California also had a law enforcement specific statute, SB1436 (The “Pitchess Law”), which “made police
officer personnel information confidential, including information relating to third-party complaints and resulting
investigation reports.” Bies, supra n. 35, at 128.



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        Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 25 of 34




uniformed services as applies to all other public employees.”52 To be sure, the absence of

transparency into police misconduct records is a national problem, with some 21 states shielding

police misconduct records from almost all public disclosure.53 But New York’s approach under

Section 50-a made it an outlier even among those states at the extreme end of the nondisclosure

spectrum.

        In about 12 states, by contrast, police misconduct records are generally available to the

public.54 In Minnesota, the public has access to “the existence and status of any complaints or

charges against” an officer, “regardless of whether the complaint or charge resulted in a

disciplinary action,” as well as “the final disposition of any disciplinary action together with the

specific reasons for the action and data documenting the basis of the action.” Minn. Stat.

§ 13.43(2). In North Dakota and Ohio, discipline records are similarly public. N.D. Cent. Code

§ 44-04-18; Ohio Rev. Code § 149.43. Some of these states presume public access but allow for

nondisclosure of records which fall under narrow exemptions based on concerns of personal

privacy. Washington, for example, protects against disclosure of disciplinary records which are

“not of legitimate concern to the public,” the release of which would be “highly offensive.”

Wash. Rev. Code § 42.56.050. Other states, like Wisconsin, withhold only those records which

pertain to an active investigation. Wis. Stat. § 19.34(10)(b).

        Another 16 or so states strike various intermediate positions.55 In Tennessee, “all law

enforcement personnel records” are open for inspection by the public, subject to certain special



52
   Comm. on Open Gov’t, State of New York, Dep’t of State, Annual Report to the Governor and State Legislature
(Dec. 2014), available at https://www.dos.ny.gov/coog/pdfs/2014AnnualReport.pdf.
53
   See supra n. 35.
54
   Alabama, Arizona, Connecticut, Georgia, Florida, Ohio, Maine, Minnesota, North Dakota, Utah, Washington, and
Wisconsin. Lewis et al., supra n. 31.
55
   Arkansas, Hawaii, Illinois, Indiana, Kentucky, Louisiana, Massachusetts, Michigan, New Mexico, Oklahoma,
South Carolina, Tennessee, Texas, Vermont, West Virginia, and California. Lewis et al., supra n. 31; California



                                                      16
        Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 26 of 34




procedures, Tenn. Code § 10-7-503, but “local departments may still withhold such records by

claiming they’re pertinent to an active or recently-concluded criminal case.”56 In Hawaii,

disclosure of police officers’ disciplinary records is appropriate where “the public interest in

access to the records outweighs [the officer’s] privacy interest.” Peer News LLC v. City & Cty.

of Honolulu, 138 Haw. 53, 55 (2016).

        The chasm between New York’s secretive approach under Section 50-a, and the more

transparent approaches adopted in a majority of states, is stark. In October 2014, Chicago police

officer Jason Van Dyke shot and killed Black teenager Laquan McDonald while he walked past

the officers in the middle of a street.57 As a result of Illinois’ comparatively transparent

approach to police disciplinary records, Chicagoans were quickly able to question whether there

had been a breakdown in Chicago’s police disciplinary system. The public learned that Van

Dyke had been the subject of civilian complaints on at least 20 occasions.58 They learned that

Van Dyke had been accused of excessive force multiple times, including one instance in which a

Black Chicagoan was awarded $350,000 after Van Dyke used force so extreme the man needed

shoulder surgery.59 They learned that complaints against Van Dyke included allegations that he

had used a racial slur.60 And they learned that none of the complaints had resulted in discipline.

        Likewise, after Derrick Chauvin killed George Floyd, the public discovered—as a result

of Minnesota’s more transparent approach—that Chauvin had been the subject of at least 17



joined this category following the 2018 passage of SB1421. See Rachel Moran, Police Privacy, 10 U.C. Irvine L.
Rev. 153, 155 (2019), available at https://scholarship.law.uci.edu/ucilr/vol10/iss1/6.
56
   Lewis et al., supra n. 31.
57
   Monica Davey & Mitch Smith, Chicago Protests Mostly Peaceful After Video of Police Shooting Is Released,
N.Y. Times, Nov. 24, 2015, available at https://www.nytimes.com/2015/11/25/us/chicago-officer-charged-in-death-
of-black-teenager-official-says.html.
58
   Elliot C. McLaughlin, Chicago officer had history of complaints before Laquan McDonald shooting, CNN
(Nov. 26, 2015), available at https://www.cnn.com/2015/11/25/us/jason-van-dyke-previous-complaints-lawsuits/.
59
   Id.
60
   Id.



                                                      17
         Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 27 of 34




prior complaints, including for shooting a civilian.61 The revelation that only two of those

complaints resulted in discipline, and that the stiffest punishment Chauvin received was a letter

of reprimand, fueled calls for reform of the Minneapolis Police Department’s dysfunctional

disciplinary system.62 As the outcry against misconduct and violence against communities of

color grows, access to disciplinary records puts the public in a position to hold departments

accountable for the hiring and firing of problematic officers—not just the offending officers.

        In contrast, after former NYPD Officer Daniel Pantaleo choked Eric Garner to death, not

even Garner’s family could obtain access to Mr. Pantaleo’s disciplinary records. Attempts by the

family’s attorneys to secure those records under New York’s Freedom of Information Law were

rejected by the NYPD, citing Section 50-a.63 It was not until after the repeal of Section 50-a that

the Civilian Complaint Review Board released the records, and the public finally learned that

Officer Pantaleo was the subject of no fewer than 17 complaints in the five years before he killed

Mr. Garner.

        B.       The New York State Legislature Repealed Section 50-a To Promote Police
                 Transparency And Accountability.

        For years, advocates and family members of New Yorkers killed by police tried,

unsuccessfully, to persuade the Legislature to repeal Section 50-a.64 Mothers like Gwen Carr

and Iris Baez, both of whom lost their sons in deadly chokeholds, cried out for reform that did




61
   Shaila Dewan & Serge F. Kovaleski, Thousands of Complaints Do Little to Change Police Ways, N.Y. Times,
May 30, 2020, available at https://www.nytimes.com/2020/05/30/us/derek-chauvin-george-floyd.html.
62
   Id.
63
   Eric Evans, Police secrecy law keeps public in the dark about police misconduct, NBC News (May 19, 2019),
available at https://www.nbcnews.com/news/us-news/police-secrecy-law-keeps-public-dark-about-police-
misconduct-n1006786.
64
   Rachel Silberstein, Advocates push for repeal of 50-a ahead of session, Times Union, Dec. 24, 2018, available at
https://www.timesunion.com/news/article/NYS-50-a-13488713.php.



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         Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 28 of 34




not come.65 But the national movement following the killings of George Floyd and Breonna

Taylor spurred renewed and intense focus on New York’s flawed and secretive system of police

discipline.

        This year, tens of millions have taken to the streets to rise up against police abuse and

violence, particularly against communities of color.66 By some estimates, it has been the largest

protest movement in the history of this country.67 Central to these protests has been a demand

for greater accountability and transparency from law enforcement. In Los Angeles, protesters

demanded an end to the culture of police impunity.68 As Patrisse Cullors, a leader in the Black

Lives Matter movement put it, accountability was at the core of what protesters expected from

their government: after police violence, “[w]e barely get a sorry, we rarely get accountability

and we never get change.”69 In Houston, as tens of thousands of protesters marched through the

City’s downtown, Black Lives Matter organizers similarly called for the city’s police department

“to be more transparent and to hold … officers accountable after fatal police shootings.”70

        In New York, focus quickly turned to Section 50-a. Marchers held signs calling for the




65
   Dean Meminger, Advocacy rally to repeal 50a law, NY1 (Oct. 17, 2019) available at
https://www.ny1.com/nyc/all-boroughs/news/2019/10/17/advocates-rally-to-repeal-50a-law.
66
   Larry Buchanan, Quoctrung Bui & Jugal K. Patel, Black Lives Matter May Be the Largest Movement in U.S.
History, N.Y. Times, July 3, 2020, available at https://www.nytimes.com/interactive/2020/07/03/us/george-floyd-
protests-crowd-size.html.
67
   Id.
68
   Ashley Riegle, Black Lives Matter co-founder says what protestors want is simple: Accountability, ABC News
(June 2, 2020), available at https://abc7.com/black-lives-matter-co-founder-says-what-protesters-want-is-simple-
accountability/6226038/.
69
   Id.
70
   Mike Hixenbaugh, Houston’s police chief wins national praise — but faces local anger over shootings and
transparency, NBC News (June 3, 2020), available at https://www.nbcnews.com/news/us-news/houston-s-police-
chief-wins-national-praise-faces-local-anger-n1223911.



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         Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 29 of 34




law’s repeal,71 and “Repeal 50-a” became a “rallying cr[y]” at protests.72 A broad coalition of

community groups, including labor unions, advocates for children, temples and church networks,

public defenders, civil rights organizations, and civil libertarians signed letters calling for

reform.73 Hundreds of businesses did so as well.74

        This time, the public calls for reform were answered. After a greater than two-thirds

majority in both the New York State Assembly and the Senate voted to repeal Section 50-a,

Governor Andrew Cuomo swiftly signed the repeal into law.75 As Senator Jamaal Bailey

explained on the floor of the New York State Senate, “[t]he silver lining on this incredibly dark

cloud is that the sun is finally starting to shine on injustice. Maybe it’s the unmistakable . . .

video evidence that we saw a live murder on TV, but it’s done something to the consciousness of

America.”76 Governor Cuomo likewise explained that the repeal of Section 50-a reflected New

York’s judgment that “[p]olice reform is long overdue, [as] Mr. Floyd’s murder is just the most

recent murder.”77 And the Governor stressed the critical importance of police transparency,

noting that there had been “a breach of the trust … that has to be restored.”78


71
   Andrew Flanagan, Over 750 Artists, Companies Call for Repeal of N.Y. Law Shielding Police Records, NPR (June
9, 2020), available at https://www.npr.org/sections/live-updates-protests-for-racial-
justice/2020/06/09/872899147/over-750-artists-companies-call-for-repeal-of-ny-law-shielding-police-records.
72
   Annie McDonough, Police reform activists and experts react to 50-a repeal, City & State New York (June 12,
2020), available at https://www.cityandstateny.com/articles/policy/criminal-justice/police-reform-activists-and-
experts-react-50-repeal.html.
73
   Letter to Majority Leader Stewart-Cousins and Speaker Heastie, Communities United for Police Reform (June 1,
2020), available at https://www.changethenypd.org/sites/default/files/snya_repeal50a_letter_to_leader_speaker_6-1-
2020_final_-_85.pdf.
74
   Flanagan, supra n. 71.
75
   See Denis Slattery, New York lawmakers vote to repeal 50-a, making police disciplinary records public, N.Y.
Daily News, June 10, 2020, available at https://www.nydailynews.com/news/politics/ny-legislature-50a-
transparency-george-floyd-20200609-yew7soogazfmdg3cr3xlsbmwye-story.html; see also Luis Ferré-Sadurní &
Jesse McKinley, N.Y. Bans Chokeholds and Approves Other Measures to Restrict Police, N.Y. Times, June 12,
2020) available at https://www.nytimes.com/2020/06/12/nyregion/50a-repeal-police-floyd.html.
76
   Slattery, supra n. 75.
77
   Ellen Moynihan, Denis Slattery & Chris Sommerfeldt, Cuomo signs historic 50-a repeal bill, making N.Y. police
disciplinary records public after decades of secrecy, N.Y Daily News, June 12, 2020, available at
https://www.nydailynews.com/news/politics/ny-cuomo-police-reform-disciplinary-records-20200612-
5zryohkuwjew7ksjowhtswmsk4-story.html.
78
   Id.


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         Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 30 of 34




III.     THIS COURT SHOULD NOT ALLOW THE POLICE UNIONS’ NARROW AND
         PRETEXTUAL INTERESTS TO OVERRIDE THE PUBLIC’S INTEREST IN
         TRANSPARENCY, ACCOUNTABILITY, AND RACIAL JUSTICE.

         The Police Unions’ asserted interest in “privacy”—a stalking-horse for their interest in

avoiding repercussions for misconduct by police officers—cannot outweigh the substantial

public interests in transparency, accountability, and racial justice vindicated by the people of

New York’s decision to repeal Section 50-a. Indeed, their vigorous efforts to block the repeal of

Section 50-a—and, with that abject failure, their filing of this lawsuit—is part of their

longstanding resistance to greater police transparency, accountability, and racial equity.

         The repeal of Section 50-a occurred over the vociferous opposition of the Police Unions

and their leadership. Police Benevolent Association (“PBA”) President Patrick Lynch warned

that the repeal of Section 50-a was a plan to “destroy[] the careers of dedicated public servants”

pushed by “organizations and persons that represent criminals and those accused of crimes.”79

He urged legislators to avoid repealing the law to satisfy “the politics of the moment,”80 and

suggested that lawmakers who supported the repeal effort were “appeasing the criminals” and

“appeasing the rioters.”81 Sergeants Benevolent Association (“SBA”) President Ed Mullins

likewise called repeal a “reckless” measure touted by “activists” who “scare[d] into submission

public officials eager to prove their far-left credentials.”82 And he cautioned that repeal would

not strike the appropriate balance between transparency and the “practical” needs of police.83 In



79
   Statement of Patrick J. Lynch, Public Hearing: Policing (S3695), repeals provision relating to personnel records of
police officers, firefighters, and correctional officers, New York State Senate Standing Committee on Codes (Oct.
17, 2017), available at https://www.nycpba.org/media/35716/191017.pdf.
80
   Bernadette Hogan, Minority lawmakers push for police reforms to pass in Albany, N.Y. Post, June 4, 2020,
available at https://nypost.com/2020/06/04/minority-lawmakers-push-for-police-reform-to-pass-in-albany/.
81
   Bernadette Hogan & Carl Campanile, NY lawmakers pass bill that releases officer disciplinary records through
FOIL, N.Y. Post, June 9, 2020, available at https://nypost.com/2020/06/09/ny-passes-bill-that-releases-disciplinary-
records-through-foil/.
82
   Ed Mullins, Don’t let activists and lawyers weaponize police-discipline records, N.Y. Post, Apr. 14, 2019,
available at https://nypost.com/2019/04/14/dont-let-activists-and-lawyers-weaponize-police-discipline-records/.
83
   Id.


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         Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 31 of 34




repealing Section 50-a, the people of New York, through their elected representatives,

disagreed—emphatically so.

        Of course, the Police Unions’ opposition to efforts to increase police accountability or to

rein in the NYPD’s persistent abuses of communities of color is nothing new. During the

mid-1960s, when our country last experienced mass uprisings to protest racial injustice,

then-Mayor John Lindsay first attempted to bring civilian oversight to police discipline

matters—an effort that the PBA successfully blocked.84 One poster from the union “showed a

young middle-class white woman emerging from the subway onto the darkened street, looking

frightened, with accompanying text that read, ‘The Civilian Review Board must be stopped! Her

life … your life … may depend on it.’”85 As John Cassesse, then-president of the PBA,

explained, he was “sick and tired of giving in to minority groups with their whims and their

gripes and shouting.”86

        Later, when Mayor David Dinkins, New York’s City’s first and only Black mayor, made

a renewed effort to create a civilian review board in 1992, the PBA staged a “ferocious protest at

City Hall”—with members “carrying guns” and “crude drawings of Dinkins” along with “racist

placards” that referred to Dinkins as “the Washroom Attendant.”87

        More recently, the Police Unions have opposed the reforms required by the Floyd

decision, stating that the improved monitoring systems, increased review of stops, body cameras,

and updated training and reporting are onerous, unrequested, and cumbersome.88 They filed a



84
   Civilian Complaint Review Board, History, available at https://www1.nyc.gov/site/ccrb/about/history.page.
85
   William Finnegan, How police unions fight reform, The New Yorker (July 27, 2020), available at
https://www.newyorker.com/magazine/2020/08/03/how-police-unions-fight-reform.
86
   Civilian Complaint Review Board, supra n. 84.
87
   Finnegan, supra n. 85.
88
   Police Union Mem. in Supp. of Mot. to Intervene, Case No. 1:08-cv-01034-AT, ECF 445 at 6 (filed Mar. 6,
2014).



                                                       22
         Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 32 of 34




lawsuit challenging the use of body-worn camera footage,89 remarkably asserting that the footage

constituted “personnel records” and therefore could not be made public under Section 50-a. The

court, in denying relief, noted that ruling “otherwise would defeat the purpose of the body-worn

camera program to promote increased transparency and public accountability.”90

        After then-Officer Pantaleo killed Mr. Garner, PBA President Lynch proclaimed that

Pantaleo was an “Eagle Scout” and “a model of what we want a police officer to be.”91 And

when the NYPD ultimately fired Pantaleo, Lynch proclaimed that “[t]he job [of being a police

officer] is dead.”92

        This pattern of impunity and toxic racism has unfortunately continued to the present day.

Last year, SBA President Mullins shared a video that referred to Black people as “welfare

queens,” “scam artists,” and “monsters,” and instructed his audience to “[p]ay close attention to

every word. You will hear what goes through the mind of real policemen every single day on the

job. This is the best video I’ve ever seen telling the public the absolute truth.” 93 More recently,

PBA President Lynch characterized protesters seeking reform in the wake of Floyd’s and

Taylor’s killings as “terrorists.”94

        Nor have the Police Unions’ histrionic predictions of chaos and disorder—put forward

every time the public has made an effort to reform police practices—come to fruition. Indeed,

while the Police Unions raise the specter that transparency as to the misconduct records at issue

here will somehow “imperil the safety” of officers, they make zero attempt to demonstrate that


89
   Matter of Patrolmen’s Benevolent Ass’n of the City of N.Y. v. de Blasio, 171 A.D.3d 636, 637 (1st Dep’t 2019).
90
   Id. at 638.
91
   Finnegan, supra n. 85.
92
   Id.
93
   Trone Dowd, NYPD Union Chief Is Very Sorry for Sharing a Racist Video That Calls Black People ‘Monsters,’”
Vice News (Aug. 14, 2019). available at https://www.vice.com/en_us/article/mbmab3/nypd-union-chief-is-very-
sorry-for-sharing-a-racist-video-that-calls-black-people-monsters.
94
   Bradford Betz, George Floyd riots: Cuomo, de Blasio announce NYC curfew, Fox News (June 1, 2020),
https://www.foxnews.com/us/george-floyd-cuomo-de-blasio-nyc-curfew.


                                                       23
       Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 33 of 34




any such thing has occurred in the states which have adopted a more transparent approach to

police records than New York under Section 50-a. Mot. for Prelim. Inj., Dkt. No. 10-12, at 2.

       Allowing the Police Unions to prevail in their effort to thwart the repeal of Section 50-a

would be a significant setback to racial justice, and to the public’s efforts to hold the NYPD

accountable for abuses in New York City’s Black and Latinx communities. It would send a

message that not even the most important state reform to arise out of the largest mass

demonstrations in our country’s history can rein in police secrecy. And it would deprive New

Yorkers of critical information needed to transform a department that has systematically violated

the rights of communities of color. The Police Unions’ requested injunction is not in the public

interest. Winter, 555 U.S. at 20.

                                         CONCLUSION

       For the foregoing reasons, the Police Unions’ motion for a preliminary injunction should

be denied.


 Dated: August 14, 2020                           Respectfully submitted,

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                                                24
      Case 1:20-cv-05441-KPF Document 131 Filed 08/14/20 Page 34 of 34




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                                             25
